                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:11-00194
                                                     )      JUDGE CAMPBELL
MONIQUE SMITH                                        )

                                             ORDER

        In light of the guilty pleas by Defendants Allen and Jackson, the Court concludes that the

number of peremptory challenges and alternate jurors should be as follows regarding the trial of

Defendant Smith on October 9, 2012. Defendant Smith shall have 10 peremptory challenges

regarding the jury of 12, and the Government shall have 6 challenges regarding the jury of 12. Fed.

R. Crim. P. 24. The Court will select 2 alternate jurors, and Defendant Smith shall have 1

peremptory challenge as to the alternates, and the Government shall have 1 peremptory challenge

as to the alternates.

        It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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